Case 2:02-oV-02483-.]DB-STA Dooument 131 Filed 06/30/05 Page 1 of 3 Page|D 145

4Fn.Eo ev __"_ o.c.`
IN THE uNI'rED sTATEs DISTRICT couRT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUN 30 P 33 55
WESTERN DIVISION

 

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vERoNIcA M. AKINES, et al., W/D Ci" 454 444§44?443
Plaintiffs,
vs. No: 02-2483 M/Bre ‘/

sHELBY coUN'rY, et al.,

Defendants.

 

CHAKA C. WATSON, et al.,
Plaintiffs,

vs. No: 02-2691 Ma/Bre
JURY TRIAL DEMANDED

sHELBY coUN'rY, et al.,

Defendants.

 

ORDER APPROVING
NOTICE OF DISMISSAL OF CLAIM OF
OLITA P. BONAPART

 

This matter having come before the Court, upon Notice of
Disrnissal of Clairn of Olita P. Bonapart, and the Court being advised that
there is no opposition to said Notice of Dismissal, finds that this Notioe is
Well taken and should be granted

IT IS, THEREFORE, ORDERED that Notice of Disrnissal of Clairn

of O]ita P. Bonapart is hereby granted

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Case 2:02-oV-02483-.]DB-STA Dooument 131 Filed 06/30/05 Page 2 of 3 Page|D 146

"`P'L\
ORDERED this the SD day of June, 2005

/ @w

J. L BF.EEN, Judg\
U.S. istrict Court

 

APPROVED FOR ENTRY:

 

Kathleen L. Caldwell, Esq.
2080 Peabody Avenue
Mernphis, TN 38104
Telephone: 901) 274-2075
Facsimile: (901) 274~2085

 

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UNITE STATES DISTRICT OURT - WESTE"DTRISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 131 in
case 2:02-CV-02483 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

 

 

Hite McLean

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Honorable J. Breen
US DISTRICT COURT

